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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
MEMPH|S D|V|SlON

UN|TED STATES OF AMERICA

-v- 2:04CR20275-01-Ml

 

JOSE RU|Z
Lar§y E. Fitzgerald, Retained

Defense Attorney
22 North Second Street, #410
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 18, 2005
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiile & section NMMOH__M offense N_urM(§j
Conc|uded
21 U.S.C. § 846 Conspiracy to Possess with intent to 06/10/2004 1

Distribute and Distribution of Cocaine
in Excess of 5 Kilograms

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/22/1961 lV|ay 18, 2005
Deft’s U.S. Marsha| No.: 34832-080

Defendant’s Mailing Address:

10609 Riza| Court
Austin, TX 78748

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/Qe @l ¢~
J NPH|PPS MCCALLA
UNI ED S ATES DlSTRICTJUDGE

Thls document entered on the dockets aet in compliance |Vlay l 2 , 2005
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with eula 55 and;c.- azib) mch on v 5

 

 

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Case No: 2:O4CR20275-01-Mi Defendant Name: Jose RUiZ Page 2 of4
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 135 Months (or 11 Years and 3 |Vionths).

The Court recommends to the Bureau of Prisons: The defendant be incarcerated
at FCi-Bastrop, TX.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iViarshal

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Case No: 2:04CR20275-01-i\/|| Defendant Name: Jose RUlZ Page 3 0f4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officerl

The defendant shall comply With the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthfui and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohoi and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20275-01-Nll Defendant Name: Jose RUiZ Page 4 of4

law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lv‘lonetary Penaitles sheet of this judgment

ADDlTlONAL COND|T|ONS OF SUPERV|SED RELEASE
The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date ofjudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of

Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Speclai Assessment shall be due immediateiy.

F|NE
No fine imposed.

RESTITUT|ON
No Restitutlon was ordered.

     

UNITED sTATE DRISTIC COURT - WESERNT DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CR-20275 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Ste. 800

i\/lemphis7 TN 38103

Larry E. Fitzgeraid
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

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Honorable J on McCaila
US DISTRICT COURT

